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 3   (530) 756-7774
 4

 5   Attorney for Defendant,
     JESUS TAMAYO TAMAYO
 6

 7                 IN THE UNITED STATES DISTRICT COURT
 8               FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                               ) No. CR-S-05-113-LKK
10   UNITED STATES OF AMERICA,                 )
                                               )
11                Plaintiff,                   ) STIPULATION TO CONTINUE
                                               ) SENTENCING DATE AND
12         v.                                  ) DISCLOSURE SCHEDULE;
                                               ) ORDER
13   JESUS TAMAYO TAMAYO,                      )
                                               )
14                Defendant.                   )
                                               )
15                                             )
16
           THE PARTIES TO THIS ACTION, JESUS TAMAYO TAMAYO, by and
17

18   through his appointed counsel of record, Lindsay Anne Weston, and Plaintiff
19
     United States of America, through its counsel, Assistant United States Attorney
20

21   Mary Grad, hereby stipulate and request this Court continue the sentencing date
22
     scheduled in this matter on January 23, 2007, at 9:30 a.m. to March 13, 2007, at
23

24
     9:30 a.m.

25         This is the third request for a continuance which is made by the defense. It
26
     is to allow defense counsel additional time to conduct and complete investigation
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28   of issues she deems pertinent to the sentence in this matter, more specifically,



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 1
     information supporting undersigned defense counsel’s opinion that defendant

 2   suffers acquired cognitive dysfunction/brain damage. Additional time is necessary
 3
     to complete the neuropsychological evaluation of Mr. Tamayo. The basis for this
 4

 5   continuance and the proposed dates for the disclosure and objections to the pre-
 6
     sentence report have been discussed with United States Probation Officer Terry
 7

 8   Sherbondy.
 9
               The parties further request this Court adopt the following schedule for
10
     disclosure of and objections to the Pre-Sentence Report:
11

12   Sentencing Motions and Motions to Correct PSR:             March 6, 2007
13
     Filing and Disclosure of PSR to Court and parties:         February 27, 2007
14

15   Counsel’s written objections to PSR to Probation:          February 20, 2007
16
     Proposed PSR disclosed to parties:                         February 6, 2007
17

18

19   ///////
20
     //////
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22   //////
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     //////
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 1
     This Stipulation is also based on all records and pleadings in this matter.

 2                                           Resepctfully submitted,
 3

 4
     DATED: November 30, 2006                _______/s ______________
 5                                           LINDSAY ANNE WESTON
 6
                                             Counsel for Defendant Tamayo

 7                                                 /s/
 8   DATED: November 30, 2006                _______________________________
                                             MARY GRAD
 9
                                             Counsel for Plaintiff
10                                           United States of America
11

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14

15                             [PROPOSED] ORDER
16
           GOOD CAUSE APPEARING, the sentencing is continued to March 13,
17

18
     2007, at 9:30 a.m. and the above disclosure schedule is adopted.

19   DATED: December 1, 2006
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